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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                               )
NATIONAL TREASURY EMPLOYEES                    )
UNION,                                         )
                                               )         Case No. 1:25-cv-935-PLF
       Plaintiff;                              )
                                               )
v.                                             )         Judge Paul L. Friedman
                                               )
DONALD J. TRUMP, et al.,                       )
                                               )
       Defendants.                             )
                                               )

       DEFENDANTS’ NOTICE OF APPEAL OF PRELIMINARY INJUNCTION

       PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of

Appeals for the District of Columbia Circuit from this Court’s April 25, 2025 Order (ECF No. 32)

and April 28, 2025 Memorandum Opinion (ECF No. 34) granting Plaintiff’s motion for a

preliminary injunction.

Dated: April 29, 2025                              Respectfully submitted,

                                                   YAAKOV M. ROTH
                                                   Acting Assistant Attorney General
                                                   EMILY M. HALL
                                                   SARAH E. WELCH
                                                   Counsel to the Assistant Attorney General
                                                   Civil Division

                                                   ERIC HAMILTON
                                                   Deputy Assistant Attorney General
                                                   Civil Division, Federal Programs Branch

                                                   ALEXANDER K. HAAS
                                                   Director
                                                   Civil Division, Federal Programs Branch

                                                   JACQUELINE COLEMAN SNEAD
                                                   Assistant Branch Director
                                                   Civil Division, Federal Programs Branch
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                                     /s/ Lydia J. Jines
                                   LYDIA JINES (MD Bar No. 2205230001)
                                   JEREMY MAURITZEN
                                   Trial Attorneys
                                   LISA ZEIDNER MARCUS
                                   Senior Counsel
                                   U.S. Department of Justice, Civil Division
                                   Federal Programs Branch
                                   1100 L St., NW, Twelfth Floor
                                   Washington, DC 20530
                                   Tel: (202) 353-5652
                                   Fax: (202) 616-8470
                                   Email: Lydia.Jines@usdoj.gov

                                   Counsel for Defendants




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